     Case: 1:10-cr-00888 Document #: 88 Filed: 07/08/15 Page 1 of 2 PageID #:385




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,

                  v.                                                    No. 10 CR 888
                                                                     Judge James B. Zagel
BRIAN BROWN.

                          MEMORANDUM OPINION AND ORDER

          Defendant Brian Brown filed a motion for reduction of sentence, pursuant to 18 U.S.C.

§ 3582(c), based on a recent amendment to the Sentencing Guidelines that lowered the base

offense levels applicable to narcotics offenses.

          In this case, Defendant’s sentence was not “based on” the Drug Quantity Table in

Section 2D1.1, which is the amended guideline. The enhancement for career offender, based on

Defendant’s prior convictions, is unaffected by Amendment 782, and the defendant’s offense

level remains exactly what it as at the time of sentencing. See United States v. Forman, 553 F.3d

585, 589-90 (7th Cir. 2009) (no reduction because defendant was sentenced under the career

offender guideline), United States v. Griffin, 652 F.3d 793, 803 (7th Cir. 2011) (same).

          The defendant is ineligible despite the fact that this Court, at the original sentencing

proceeding, departed below the guideline range, because the Court found Section 3553(a).

Application note 1 of the applicable version of Section 1B1.10 (Nov. 1, 2011) (emphasis added)

provides that the “applicable guideline range” means “the offense level and criminal history

category determined pursuant to § 1B1.1(a), which is determined before consideration of any

departure provision in the Guidelines Manual or any variance.”

          Accordingly, my departure from the range at the original sentencing does not alter the

fact that Defendant was subject to a guideline range that has not been changed by Amendment



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    Case: 1:10-cr-00888 Document #: 88 Filed: 07/08/15 Page 2 of 2 PageID #:386




750, and 3582(c) provides no relief to Defendant.

         Defendant’s Motion for Reduction of Sentence is denied.

                                                    ENTER:




                                                    James B. Zagel
                                                    United States District Judge

DATE: July 8, 2015




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